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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors. 1                          (Jointly Administered)

                                                                        Related to Docket No. 316

 ORDER (A) APPROVING BID PROCEDURES FOR THE SALE OF THE DEBTORS’
BRAND ASSETS; (B) APPROVING CERTAIN BID PROTECTIONS IN CONNECTION
   WITH THE DEBTORS’ ENTRY INTO ANY POTENTIAL STALKING HORSE
   AGREEMENTS; (C) SCHEDULING THE AUCTION AND SALE HEARING;
   (D) APPROVING THE FORM AND MANNER OF NOTICE THEREOF; AND
                    (E) GRANTING RELATED RELIEF

         Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”), for the entry of an order pursuant to sections

105(a), 363, 365, 503, 507, 1107, and 1108 of title 11 of the United States Code (the “Bankruptcy

Code”), Rules 2002, 6004, and 6006 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and Rules 2002-1 and 6004-1 of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”)

to establish certain sales procedures which will culminate in a sale or sales of certain of the Debtors

assets, all as more fully set forth in the Motion; and upon consideration of the First Day

Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for




1   A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.
2   A capitalized term used but not defined herein have the meaning ascribed to it in the Motion.



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the District of Delaware, dated February 29, 2012; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Court having found that venue of this

proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and

this Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on

the Motion were appropriate under the circumstances and no other notice need be provided; and

this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor,

        IT IS HEREBY FOUND AND DETERMINED THAT:3

        A.       The Debtors have articulated good and sufficient reasons for, and the best interests

of their estates and stakeholders will be served by, the Court scheduling or fixing dates pursuant

to this order (this “Order”) for, among other things, the (i) Bid Deadline; (ii) Sale Objection

Deadline; (iii) Auction; and (iv) Sale Hearing, each as defined below.

        B.       The Bid Procedures are fair, reasonable, and appropriate and represent the best

available method for maximizing value for the benefit of the Debtors’ estates.

        C.       It may be necessary to induce one or more third-party bidders to serve as Stalking

Horse Bidders and provide Bid Protections pursuant to the terms of this Order.

        D.       The Bid Procedures were negotiated at arm’s length, in good faith, and without

collusion. The Bid Procedures balance the Debtors’ interests in emerging expeditiously from these


3   The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law
    pursuant to Bankruptcy Rule 7052. To the extent that any of the following findings of fact constitute conclusions
    of law, they are adopted as such. To the extent any of the following conclusions of law constitute findings of
    fact, they are adopted as such.


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Chapter 11 Cases while preserving the opportunity to attract value-maximizing proposals

beneficial to the Debtors’ estates, their creditors, and other parties in interest.

        E.       The Bid Procedures Notice, Stalking Horse Notice, Auction Notice, and Notice of

Successful Bidder are reasonably calculated to provide the Sale Notice Parties, the Contract

Counterparties, and other interested parties with proper notice of the (i) Bid Procedures;

(ii) Auction; (iii) Sale Hearing; and (iv) Sale(s).

        F.       The Motion and the Bid Procedures comply with all applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.

        G.       Due, sufficient, and adequate notice of the relief granted herein has been given to

all parties in interest.

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

        1.       The Motion is granted as set forth herein.

        2.       All formal and informal objections, if any, to the relief requested in the Motion that

have not been withdrawn, waived, or settled are overruled on the merits.

        3.       The Bid Procedures, which are attached hereto as Exhibit 1 and incorporated herein

by reference, are hereby approved in all respects and shall govern all Bidders and Bids, including

those that may be submitted by Qualified Bidders at the Auction.

        4.       Bidders seeking to submit Bids for the Brand Assets must do so in accordance with

the terms of the Bid Procedures and this Order.

        5.       Following entry of this Order, the Debtors shall be authorized, but not directed, in

consultation with the Consultation Parties and with either the express consent of the DIP Agent

and the Foris Prepetition Lenders or with further order of the Court, to select one or more Bidders

to act as a stalking horse bidder (each, a “Stalking Horse Bidder”); provided, however, the Foris



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Prepetition Secured Lenders and/or the DIP Secured Parties must provide written confirmation

(email being sufficient) to the Debtors of their intent to submit a Stalking Horse Bid on or before

October 30, 2023, which written confirmation must include the Contemplated Transaction

Documents (as defined herein); provided, further, that if at such time the DIP Agent and the Foris

Prepetition Secured Lenders have provided a Credit Bid (as defined below) to be a Stalking Horse

Bidder they shall not have consent rights with respect to such Brand Assets that are the subject of

such Credit Bid so long as such Credit Bid has not been withdrawn.

        6.       The Debtors are authorized, in accordance with the Bid Procedures, to grant the Bid

Protections to any Stalking Horse Bidder if the Debtors determine that granting the Bid Protections

is in the best interests of the Debtors’ estates and stakeholders. To the extent such determination

is made to grant the Bid Protections, the Debtors shall disclose such Bid Protections in the

corresponding notice designating a Stalking Horse Bidder (the “Stalking Horse Notice”) to be filed

pursuant to the Bid Procedures, and such Bid Protections may be paid without further action or

order by the Court in accordance with the Bid Procedures. For the avoidance of doubt, the Bid

Protections are hereby authorized in the form of (a) a break-up fee of no more than 3.0% of the

total cash consideration payable under such Stalking Horse Agreement (the “Break-Up Fee”) plus

(b) expense reimbursement for the Stalking Horse Bidder's actual out-of-pocket costs of up to

$350,000 (the “Expense Reimbursement” and, together with the Break-Up Fee, the “Bid

Protections”); provided, however, that the aggregate Bid Protections with respect to any Stalking

Horse Bid shall not exceed 5.0% of the total cash consideration offered in any such Stalking Horse

Bid. Any Bid Protections incurred by the Debtors pursuant to this Order and the Bid Procedures

will be payable to the applicable Stalking Horse Bidder, in the event the Stalking Horse Bidder is

not a Successful Bidder, from the proceeds of the cash portion of the Purchase Price of the



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applicable Successful Bid upon Closing to the extent the Successful Bid includes the same Brand

Assets as contemplated by the Stalking Horse Bid. The Debtors shall not pay a Break-Up Fee to

any Stalking Horse Bidder on account of the portion of the Purchase Price of such Bid that is a

credit bid, assumption of liabilities, or other non-cash (or cash-equivalent) consideration, nor

provide any Bid Protections to an insider or affiliate of the Debtors.4

        7.       As set forth in the Bid Procedures and this Order, the Debtors, in consultation with

the Consultation Parties, are authorized but not directed, to designate one or more Stalking Horse

Bidders no later than November 1, 2023. If the Debtors, in consultation with the Consultation

Parties, designate one or more Stalking Horse Bidders, the Debtors shall, by November 1, 2023,

file the Stalking Horse Notice. The Stalking Horse Notice, if filed, shall include (a) a copy of the

Stalking Horse Agreement(s); (b) an appropriate declaration in support of the proposed Bid

Protections (the “Bid Protections Declaration”); and (c) a proposed form of order approving the

Bid Protections (the “Stalking Horse Order”).

        8.       Any objection to (i) the Bid Protections set forth in the Stalking Horse Notice, or

(ii) the form of Stalking Horse Order (a “Stalking Horse Objection”), shall be filed no later than

November 6, 2023 at 5:00 p.m. (prevailing Eastern Time); provided, however, any such

Stalking Horse Objection shall be limited to whether the Stalking Horse Notice and Stalking Horse

Order are consistent with the Bid Protections provided for herein. If a timely Stalking Horse

Objection is filed, the Debtors are authorized to file a notice seeking an expedited hearing with



4   For the avoidance of doubt, the foregoing restriction on the provision of Bid Protections to an insider or affiliate
    of the Debtors neither (i) alters the DIP Secured Parties’ or Foris Prepetition Lenders’ rights or the Debtors’
    obligations pursuant to any order entered with respect to the Motion of the Debtors for Interim and Final Orders
    (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
    Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
    Hearing, and (V) Granting Related Relief [Docket No. 19] or the Senior Secured Super Priority Debtor in
    Possession Loan Agreement dated as of August 9, 2023, as amended; nor (ii) affects any other party’s (including
    the Committee) rights with respect thereto.


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respect to the Stalking Horse Objection on not less than three (3) calendar days’ notice. Absent

any timely Stalking Horse Objection, the Court may enter the Stalking Horse Order without further

hearing.

          9.     The deadline for all Potential Bidders to submit a Qualified Bid (other than any of

the Secured Parties’ deemed Qualified Bid(s)) is November 14, 2023 at 5:00 p.m. (prevailing

Eastern Time) (the “Bid Deadline”), as set forth in the Bid Procedures.

          10.    By November 22, 2023, the Debtors shall file a notice on the Court’s docket (an

“Auction Notice”) providing (i) notice of the location of the Auction; and (ii) notice of whether

the Debtors believe, in the exercise of their business judgment and after consultation with the

Consultation Parties, that the Auction should be held in two or more parts over multiple days so

as to maximize value for the estates.

          11.    As set forth in the Bid Procedures, if at least one Qualified Bid is received by the

Bid Deadline (in addition to any of the Secured Parties’ deemed Qualified Bid), the Debtors will

hold the Auction beginning on November 28, 2023 at 10:00 a.m. (prevailing Eastern Time) in

accordance with the Bid Procedures at the location designated by the Debtors in the Auction

Notice.

          12.    On or before December 1, 2023, the Debtors will file with the Court and serve on

the Notice Parties (as defined below) and on all non-Debtor counterparties to Transferred Contracts

(as defined below) included in the Successful Bid(s), the Notice of Successful Bidder. With

respect to any Sale Transaction, a filed Notice of Successful Bidder shall include, as exhibits, (a)

a copy of the Purchase Agreement; (b) a copy of the proposed Sale Order; and (c) identification of




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the Transferred Contracts for such Sale Transaction (which may be in the form of an exhibit or

schedule to the Purchase Agreement).5

        13.      Any Contract Counterparty to a Transferred Contract that objects to a Successful

Bidder’s provision of additional assurance of future performance (the “Adequate Assurance

Objection”) must file such Adequate Assurance Objection on or before December 5, 2023 at

5:00 p.m. (prevailing Eastern Time) and serve such objection on the Notice Parties and the

applicable Successful Bidder. To the extent the parties are unable to resolve an Adequate

Assurance Objection, the Court will set a hearing, which may be at the Sale Hearing, on the

Adequate Assurance Objection to determine whether terms of the Successful Bid are compliant

with section 365 of the Bankruptcy Code in providing adequate assurance of future performance

to the Contract Counterparty of the applicable Transferred Contract.

        14.      Any Secured Party shall be entitled to credit bid some or all of its claims pursuant

to section 363(k) of the Bankruptcy Code. Any credit bid by the DIP Agent and/or the Foris

Prepetition Secured Lenders shall automatically be deemed a Qualified Bid; provided, however,

that any credit bid by the Foris Prepetition Secured Lenders shall be subject to the Challenge Period

(as defined in the DIP Order).

        15.      Following the conclusion of the Auction, and subject to compliance with the terms

of the DIP Order, the Sale Hearing may be adjourned or rescheduled without notice by an

announcement of the adjourned date at the Sale Hearing or by filing a notice on the Court’s docket.

At the Sale Hearing, the Debtors shall present the Successful Bid(s) to the Court for approval.




5   The Debtors may, in their discretion, serve a Notice of Successful Bidder by U.S. Mail without attached copies
    of a Purchase Agreement and/or proposed Sale Order; provided, however, that any such Notice of Successful
    Bidder must identify where parties receiving such notice may access such documents free of charge.


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        16.      The Debtors are hereby authorized to conduct the Sale(s) without the necessity of

complying with any state or local transfer laws or requirements.

        17.      The Bid Procedures Notice substantially in the forms attached to this Order as

Exhibit 2 is approved in all respects. Other than with respect to the Notice of Successful Bidder,

no other or further notice of the Bid Procedures, the Sale Hearing, relevant objection or other

deadlines, or the Sale(s) is required.

        18.      To be considered, any objection to the Sale(s) must: (a) comply with the

Bankruptcy Rules and the Local Rules; (b) be made in writing and filed with the Court; and (c) be

filed on or before December 5, 2023 at 5:00 p.m. (prevailing Eastern Time) (the “Sale Objection

Deadline”).

        19.      The failure of any objecting person or entity to timely file an objection prior to the

Sale Objection Deadline shall be a bar to the assertion at the Sale Hearing or thereafter of any

objection to the relief requested by the Debtors, or the consummation and performance of the

Sale(s) of the Brand Assets to the Successful Bidder(s), including the transfer of the Brand Assets

free and clear of all Encumbrances (with the same to attach to the cash proceeds of the Sale(s) to

the same extent and with the same order of priority, validity, force, and effect which they

previously had against the Brand Assets, subject to the rights and defenses of the Debtors and the

Debtors’ estates with respect thereto), and the Debtors’ assumption and assignment or transfer of

the Transferred Contracts to the Successful Bidder(s).

        20.      No Qualified Bidder or any other person or entity, other than a Stalking Horse

Bidder, if any, shall be entitled to any expense reimbursement, break-up fee, termination, or other

similar fee or payment in connection with the Sale(s).




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         21.      Notwithstanding the possible applicability of Bankruptcy Rules 6004(h) or

6006(d), the terms and conditions of this Order shall be immediately effective and enforceable

upon its entry.

         22.      The Debtors are authorized and empowered to execute and deliver such documents,

and to take and perform all actions necessary to implement and effectuate the relief granted in this

Order.

         23.      All persons and entities that participate in the Sale Process and/or the Auction(s)

shall be deemed to have knowingly and voluntarily submitted to the exclusive jurisdiction of this

Court with respect to all matters related to the Bid Procedures, the Sale Process, and the Auction(s).

         24.      To the extent of any inconsistences between the Bid Procedures and this Order, this

Order shall govern.

         25.      The Court shall retain jurisdiction over any matter or dispute arising from or

relating to the Bid Procedures or this Order.




      Dated: October 16th, 2023                     THOMAS M. HORAN
      Wilmington, Delaware                          UNITED STATES BANKRUPTCY JUDGE



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